Case 19-12530-jkf        Doc 45     Filed 11/19/19 Entered 11/19/19 10:38:32                  Desc Main
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                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In Re:                                                  :
         Ayomide J. Aderemi                             :
                                                        :
                                                        :
                                                        :       Case No. 19-12530JKF
                                                        :
Debtor(s)                                               :       Chapter 13

                                AMENDED CERTIFICATE OF NO RESPONSE


        I, Brad J. Sadek, Esquire, hereby certify that neither an objection to the proposed compensation
nor an application for administrative expenses has been filed.



Dated: November 19, 2019                                    /s/ Brad J. Sadek, Esquire
                                                              Brad J. Sadek, Esquire
                                                              Sadek and Cooper
                                                              1315 Walnut Street, Suite 502
                                                              Philadelphia, PA 19107
                                                              215-545-0008
